

ORDER

PER CURIAM:
AND NOW, this 29 th day of February, 2000, Petitioner’s Petition for Review Pursuant to Pa.R.A.P. 3315 is GRANTED. The Order of the Superior Court entered February 14, 2000, is REVERSED and the Order of the Court of Common Pleas of Allegheny County entered January 10, 2000, setting nominal bail pending trial is REINSTATED.
Petitioner’s Emergency Application for Writ of Prohibition Pursuant to 42 Pa.C.S. § 721(2) is DISMISSED AS MOOT.
Petitioner’s Emergency Application for Consideration by a Single Justice Pursuant to Pa.R.A.P. 3315 and 123(e) is DISMISSED AS MOOT.
